                               Amy Mitchell, Trustee
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October 10, 2022

Honorable Theresa H. Pearson
U.S. Bankruptcy Court
Via ecf

       Re:     AAIM Care, LLC (Case No. 22-30228-thp7)

Dear Judge Pearson:

In advance of the continued hearing on Motion to Dismiss set for video hearing at 10:30am
October 11, 2022, I write to update you on the status of the discovery issues related to your June
27, 2022 Order Granting Application for Examination…Under Rule 2004 (doc. 125, the
“Order”).

As we discussed at the hearing on September 29, 2022, I conducted a telephone conference with
the parties on October 6, 2022, to discuss the discovery efforts to date. Mr. Theodore Piteo and
Mr. Rajeev Jain attended the conference on behalf of the Debtor. Ms. Susan Ford and Mr. Garrett
Eggen attended on behalf of creditor Dr. Fritz.

I began the conference by asking questions about general recordkeeping and record retention. I
then went through each request in the Order. It became clear that the Debtor had not performed a
comprehensive search for responsive documents, including email and other electronic files.

To follow up on the conference, I sent an email to the parties on October 7, 2022, outlining the
additional documents that needed to be produced, including searches of electronic and paper files
necessary to satisfy the Order. A copy of my email to the parties is attached.

On October 8 and 9, 2022, Dr. Sanjeev Jain sent several emails to the parties and me with
additional responsive documents as follows:

       Request 5: Contract(s) with Dr. Jain
       Contracts between Dr. Jain and related entities.

       Request 6: Purchase of Debtor by Pacifica Medical Group
       Emails related to due diligence, unsigned contracts and documents related to
       Dr. Jain’s purchase of AAIM Care.




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       Request 8: Allocations of Costs and Expenses
       Request 10: Payments to Chase, related-entities and Dr. Jain
       Bank statements for Debtor from February 2018 to present.

       Request 13: Chase Relationship
       Signed loan documents and what appear to be Chase internal loan approval
       documentation.

While the additional production over the weekend was substantial, there are still significant
documents outstanding. I do not know if the Debtor has undertaken a search of all paper,
electronic and email files to identify additional responsive documents.

I will be present at the video hearing on October 11, 2022, and can provide the Court additional
details as requested.

Please let me know if you have any questions. Thank you.


Sincerely,

/s/ Amy Mitchell
Amy Mitchell

Enclosure

Copy via email:
      Mr. Rajeev Jain: rjain@aa-clinic.com
      Dr. Sanjeev Jain: drsjain@aa-clinic.com
      Mr. Theodore Piteo: ted@pdxlegal.com
      Ms. Susan Ford: sford@sussmanshank.com
      Mr. Garrett Eggen: geggen@sussmanshank.com
      Mr. Christian Torimino: Christian.Torimino@usdoj.gov




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From:            Amy Mitchell
To:              "Rajeev Jain"; "Sanjeev Jain"; "Theodore J. Piteo"; "Susan S. Ford"; "Garrett S. Eggen"
Cc:              "Torimino, Christian (USTP)"
Subject:         AAIM Care Discovery Conference
Date:            Friday, October 7, 2022 7:07:00 PM


Good evening-

Thank you for your time yesterday to discuss the discovery issues in this case. Mr. Jain provided
information on the various requests and answered questions about which documents may be
available and efforts made to search for responsive items. Although Dr. Jain was not present on the
call, the following requests relate to AAIM Care and apply to all officers, contractors and employees
that have possession of responsive documents whether in hard copy or electronic form. Further, Mr.
Jain indicated that all email is maintained by individual accounts and that searches had not been
conducted to find responsive documents. That needs to happen immediately.

We reviewed each request in the 2004 Order individually. I will reference those with the additional
documents that were discussed. Please provide the requested additional information responsive to
the 2004 Order. As discussed on our call, this will necessitate a search of all paper, electronic and
email files.

Request 1: Time sheets and records to show Dr. Jain’s patient visits.
Data from EMR software, in a summary format, to include dates of service and number of patients
seen on each date, with any amount billed for those patients (no personally identifiable healthcare
information should be included).

Request 2: Financial Statements
2018 General Ledger for all entities
2020 General Ledger for all entities
2021 General Ledger for all entities
2022 General Ledger for all entities

Request 3: PPP and EIDL loans
Mr. Jain indicated there were no EIDL loans – only PPP.
Worksheet with calculations/data that was the basis of forgiveness application
Correspondence regarding status of forgiveness application

Request 4: Corporate Documents
Satisfied. Mr. Jain indicated there are no additional responsive documents.

Request 5: Contract(s) with Dr. Jain
Satisfied. Mr. Jain indicated there is a contract between AAIM and Dr. Jain (provided), but no other
documents.

Request 6: Purchase of Debtor by Pacifica Medical Group
Closing documents, due diligence, emails and all other documents related to purchase. A



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comprehensive search of paper files and email records is necessary to satisfy this request.

Request 7: Tax Returns
Satisfied.

Request 8: Allocations of Costs and Expenses
Bank statements for Debtor accounts from February 14, 2018 to present to show transfers of funds
between Debtor and related-entities.

Request 9: Agreements regarding shared expenses
Any documents, other than previously provided spreadsheets, with directions/agreements,
calculations or other details about shared expenses. A comprehensive search of paper files and
email records is necessary to satisfy this request.

Request 10: Payments to Chase, related-entities and Dr. Jain
Bank statements for Debtor accounts from February 14, 2018 to present showing any of these
payments.

Request 11: Loan from CMD
Satisfied. Mr. Jain stated that there is no loan between CMD and AAIM. The amount listed as owing
is for unpaid management services.

Request 12: Analysis of Transfers
Per Mr. Piteo, the general ledger was used for this purpose. Mr. Jain indicated he did not know if
there was any other analysis. To the extent there is any other responsive document, please provide.

Request 13: Chase Relationship
Paper documents or scanned versions of items received via mail from Chase regarding the loan
relationship (See detailed documents listed in request). A comprehensive search of paper files and
email records is necessary to satisfy this request.

Request 14: Money owed to Related Entities
Mr. Jain indicated there were no documents related to this request, other than the general ledger. A
comprehensive search of paper files and email records is necessary to satisfy this request.

Request 15: Use of funds from Chase loans
Mr. Jain indicated there were no documents related to this request. A comprehensive search of
paper files and email records is necessary to satisfy this request.

Request 16: Loan applications
A comprehensive search of paper files and email records is necessary to satisfy this request.


The recording of the discovery conference is available to download here:
https://www.dropbox.com/t/QzD6DE49gr9bnCOU.



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I will file a report with the Court to let the Judge know the status of the discovery process. Please let
me know if you have any questions. Thank you.

Amy

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